915 F.2d 1566Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Jimmy WHITWORTH, Defendant-Appellant.
    No. 90-6853.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 27, 1990.Decided Sept. 28, 1990.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  Joe F. Anderson, Jr., District Judge.  (CA-89-1698-3;  CR-88-397-3)
      Jimmy Whitworth, appellant pro se.
      Robert Claude Jendron, Jr., Assistant United States Attorney, Columbia, S.C., for appellee.
      D.S.C.
      AFFIRMED.
      Before SPROUSE and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Jimmy Whitworth appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Whitworth, CA-89-1698-3;  CR-88-397-3 (D.S.C. June 5, 1990).  We deny Whitworth's motion for appointment of counsel and dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    